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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  §
                                          §
                                          §
v.                                        §
                                          §
PATRICK MONTGOMERY,                       §         Case No. 21-CR-00046-RDM
BRADY KNOWLTON, and                       §
GARY WILSON                               §
                                          §
      Defendants                          §

                   DEFENDANTS’ MOTION TO DISMISS
           COUNT TEN OF THE THIRD SUPERSEDING INDICTMENT

TO THE HONORABLE RANDOLPH D. MOSS, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:

      PATRICK MONTGOMERY, BRADY KNOWLTON, and GARY WILSON, the

Defendants in the above styled and numbered cause, by and through undersigned

counsel, move this Court to dismiss Count Ten of the Third Superseding Indictment

filed on August 19, 2022.

 I.   Background

      Mr. Montgomery and Mr. Knowlton previously moved this Court to dismiss

Count Ten of the original Superseding Indictment in this case alleging a violation of

18 U.S.C. § 1512(c)(2). See ECF Dkt. 39, 40, 44, 47, 48, 59, 60, 66. After the Govern-

ment sought and obtained the Second Superseding Indictment on December 1, 2021,

Mr. Montgomery and Mr. Knowlton moved to dismiss Count Ten of that indictment

alleging a violation of the same statute based on their previous motions, objections,

responses, replies, and other related matters. See ECF Dkt. 80. On December 28,

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2021, this Court issued its Memorandum Order and Opinion denying that motion.

See ECF Dkt. 87.

      As this Court is undoubtedly aware, Judge Carl Nichols, considering similar

motions to dismiss almost identical allegations of violating 18 U.S.C. § 1512(c)(2)

raised by multiple defendants, granted those motions. See United States v. Miller,

589 F.Supp.3d 60, 67–79 (D.D.C. 2022); United States v. Fischer, No. 21-cr-00234

(CJN), 2022 WL 782413, at *4 (D.D.C. 2022); United States v. Edward Lang, No. 21-

cr-53 (CJN), Minute Order 6/7/2022. The Government appealed those rulings and, on

April 7, 2023, Judge Pan issued an opinion purporting to be issued on behalf of a

majority of a panel of the United States Court of Appeals for the District of Columbia

reversing Judge Nichols’ rulings. See United States v. Fischer, 64 F.4th 329, 350 (D.C.

Cir. 2023). Judge Walker, however, issued a concurring opinion, along with Judge

Katsas who issued a dissenting opinion. Id. at 351–85. The defendants/appellees’ pe-

tition for panel rehearing was denied on May 23, 2023. See Per Curiam Order of

5/20/2023 (available at https://ecf.cadc.uscourts.gov/docs1/01208520677). One of the

defendants, Jake Lang, has filed a petition for writ of certiorari in the United States

Supreme Court. See Petition (available at http://www.supremecourt.gov/DocketPDF/

23/23-32/270606/20230707144513334_43948%20pdf%20Pattis%20br.pdf).

       On August 19, 2022, the Government sought and obtained a Third Supersed-

ing Indictment in this case, adding Mr. Wilson as a defendant and alleging a violation

of 18 U.S.C. § 1512(c)(2) against him, as well as Mr. Montgomery and Mr. Knowlton,



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in Count Ten. See ECF Dkt. 115. Like in the previous indictments, that Count specif-

ically alleges the Defendants “attempted to, and did, corruptly obstruct, influence,

and impede an official proceeding, that is, a proceeding before Congress, specifically,

Congress's certification of the Electoral College vote as set out in the Twelfth Amend-

ment of the Constitution of the United States and 3 U.S.C. §§ 15-18.” Id.

II.   Argument

      All the Defendants here move this Court to apply all previous motions, objec-

tions, responses, replies, and other related matters filed or made related to their Mo-

tions to Dismiss Count Ten of the Superseding Indictment and the Second Supersed-

ing Indictment to this same Count of the Third Superseding Indictment.

      Additionally, the Defendants raise the following, additional argument. While

Mr. Montgomery and Mr. Knowlton originally raised the argument that the term

“corruptly” as used in 18 U.S.C. § 1512(c)(2) is unconstitutionally vague, they argued

in the alternative, were this Court to reject that argument (which it ultimately did),

it should apply the definition of “corruptly” used in the Seventh Circuit. See Defend-

ants’ Joint Supplemental Brief on Defendants’ Motion to Dismiss (ECF Dkt. 60) at

39–41 (citing THE WILLIAM J. BAUER PATTERN CRIMINAL JURY INSTRUCTIONS OF THE

SEVENTH CIRCUIT (2020 Ed.), 18 U.S.C. § 1512 Definition of “Corruptly” at 629). More

specifically, Mr. Montgomery and Mr. Knowlton argued that the indictment needed

to allege, “A person acts ‘corruptly’ if he or she acts with the purpose of wrongfully

impeding the due administration of justice.” Id.



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      This Court went well beyond this in its Memorandum Opinion and Order con-

sidering multiple, other interpretations of the term “corruptly” — from the Supreme

Court’s consideration of that term in Arthur Andersen to “several circuits [which]

have read the term ‘corruptly’ for purposes of Section 1512(c)(2) to require a showing

of ‘dishonesty’ or an ‘improper purpose’.” See ECF Dkt. 87 at 40–42. Ultimately, this

Court concluded that the statute’s mens rea requirement is what “draws the line be-

tween lawful and criminal obstruction or influence of a congressional proceeding.” Id.

at 43. Accordingly, this Court noted that there were “two elements” of the mens rea

requirement. Id. The first was a “nexus requirement” that “the charged conduct must

have the ‘natural and probable effect of interfering with’ an official proceeding and

the accused must have ‘know[n] that his actions [were] likely to affect’ a particular

proceeding.” Id. at 43–45. Secondly, this Court stated that the Government establish

that the Defendants “acted with the wrongful or improper purpose of delaying or stop-

ping the official proceeding.” Id. at 45–49.

      In Fischer, Judge Walker in his concurring opinion also believed that there was

a heightened mens rea definition of “corruptly.” Fischer, 64 F.4th at 351–62 (Walker,

J., concurring). As he emphasized, absent a mens rea that a “defendant not only knew

he was obtaining an unlawful benefit but that his objective or purpose was to obtain

that unlawful benefit,” Section 1512(c)(2) was breathtakingly broad and vague. Id. at

351, 357. Accordingly, he determined that “‘corruptly’ in § 1512(c) means to act ‘with

an intent to procure an unlawful benefit either for [oneself] or for some other person.’”

Id. at 357. As he continued, “It ‘requires proof that the defendant not only knew he

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was obtaining an ‘unlawful benefit’ but that his ‘objective’ or ‘purpose’ was to obtain

that unlawful benefit.’” Id. Further, “that benefit may be unlawful either because the

benefit itself is not allowed by law, or because it was obtained by unlawful means.”

Id.

      Judge Katsas, in his dissenting opinion, also believed that an “unlawful bene-

fit” mens rea is necessary. Fischer, 64 F.Ed. at 379–81 (Katsas, J., dissenting). How-

ever, he viewed it as nevertheless insufficient to limit the statute’s unconstitutional

reach and concluded that Judge Nichols was correct in holding that Section 1512(c)(2)

was limited to impairing physical or other kinds of evidence. Id. at 381–82.

      The Defendants continue to maintain that Section 1512(c)(2)’s use of the term

“corruptly,” is unconstitutionally vague and inapplicable to their alleged conduct in

Count Ten of the Third Superseding Indictment. However, in light of Judge Walker

and Katsas’ concerns about the use of that term in the statute, the Defendants submit

that this Court should consider adopting Judge Walker’s interpreted definition of

“corruptly,” requiring an allegation that the Defendants acted “with an intent to pro-

cure an unlawful benefit either for [oneself] or for some other person,’” proof that they

“not only knew [they were] obtaining an ‘unlawful benefit’ but that [their] ‘objective’

or ‘purpose’ was to obtain that unlawful benefit’” and further, “that [the] benefit may

be unlawful either because the benefit itself is not allowed by law, or because it was

obtained by unlawful means.” See id. at 357 (Walker, J., concurring). Because Count

Ten of the Third Superseding Indictment does not allege the same, this Court should

dismiss that count.

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III.   Conclusion

       Mr. Montgomery and Mr. Knowlton continue to maintain their position that

Count Ten of the Third Superseding against them should be dismissed. Mr. Wilson

joins them in their previous objections and argument, as well as the expanded argu-

ment made here. All the Defendants respectfully request that the Court dismiss

Count Ten of the Third Superseding Indictment.

                             Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for the

Government, Kelly Moran, Carolina Nevin, and Karen Rochlin and, on July 17, 2023,

via CM/ECF and email.

                                       /s/ T. Brent Mayr
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